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                      EXHIBIT A
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                        IN THE UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE


    IN RE                                                       )     Chapter 11
                                                                )
    LORDSTOWN MOTORS CORP., et. al.,1                           )     Case No. 23-10831-MFW
                                                                )
                                                                )     (Jointly Administered)
                            Debtors.                            )
                                                                )     Re: Docket No. 847

            ORDER GRANTING MOTION OF THE U.S. SECURITIES AND
        EXCHANGE COMMISSION FOR ORDER FURTHER EXTENDING TIME
         TO TAKE ACTION TO DETERMINE THE DISCHARGEABILITY OF A
       DEBT TO A GOVERNMENTAL UNIT PURSUANT TO 11 U.S.C. § 1141(d)(6)

       Upon the motion (Dkt. No. 847, the “Motion”) of the U.S. Securities and Exchange

Commission (the “Commission”) for entry of an Order, pursuant to Rule 4007(c) of the Federal

Rules of Bankruptcy Procedure, to extend the time for the Commission to take action, to the

extent necessary, to determine the dischargeability of a debt to a governmental unit pursuant to

11 U.S.C. §1141(d)(6), and due and proper notice of the Motion having been given, and after due

deliberation and sufficient cause appearing therefor, it is ORDERED, ADJUDGED AND

DECREED:

         1.       The Motion is GRANTED as set forth herein.

         2.       To the extent an action under Section 1141(d)(6) of the Bankruptcy Code is

governed by Rule 4007(c) of the Federal Rules of Bankruptcy Procedure, the deadline for the

Commission to file a complaint or take any other action that may be required, if any, to

determine the dischargeability of a debt pursuant to Section 1141(d)(6) of the Bankruptcy Code


1
 The Debtors and the last four digits of their respective federal tax identification numbers are: Lordstown Motors
Corp. (3229); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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is extended to February 15, 2024, without prejudice to the Commission’s right to seek further

extensions, and without prejudice to the rights of other parties in interest to oppose any such

extensions.

       3.      Nothing in this Order constitutes a determination that any deadline exists for the

Commission to seek a determination of nondischargeability under Section 1141(d)(6) of the

Bankruptcy Code.

       4.      The Court retains jurisdiction to interpret and enforce the terms of this Order.
